         Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 1 of 12




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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH
                                   CENTRAL DIVISION



   UNITED STATES OF AMERICA, ex
   rel. GERALD POLUKOFF, M.D.,
                                                         DEFENDANT
           Plaintiff/Relator,                          INTERMOUNTAIN
                                                      HEALTHCARE, INC.’S
   vs.
                                                        OBJECTION TO
   INTERMOUNTAIN HEALTHCARE,                          MAGISTRATE JUDGE’S
   INC., INTERMOUNTAIN MEDICAL                              ORDER
   CENTER, SHERMAN SORENSEN,
   M.D., and SORENSON                                Civil No.: 2:16-cv-00304-BCW
   CARDIOVASCULAR GROUP,

           Defendants.




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       Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 2 of 12




        Pursuant to Fed. R. Civ. P. 72, Defendants Intermountain Healthcare, Inc. and

Intermountain Medical Center (collectively, “Intermountain”), through counsel, file this

Objection to Magistrate Judge Furse’s recent docket entry denying Intermountain’s Motion to

Stay Proceedings (“Motion”).      Intermountain’s Motion sought to stay this matter pending

resolution of Intermountain’s petition for a writ of certiorari, which it intends to file with the

Supreme Court on or before January 14, 2019.

                                       INTRODUCTION

        On January 19, 2017, this Court dismissed Relator Gerald Polukoff’s (“Relator”)

Amended Complaint, holding—as to all Defendants—that a physician’s medical opinion

regarding medical necessity cannot be objectively false under the FCA in the absence of a

binding government standard, see Doc. 205 at 15–21, and—as to Intermountain—that Relator

failed to satisfy Rule 9(b)’s requirement to plead fraud with particularity. See id. at 12–13. On

appeal, the Tenth Circuit reversed and remanded for further proceedings. 895 F.3d 730 (10th

Cir. 2018). The Tenth Circuit reasoned that it was possible for a medical opinion concerning

medical necessity to be false or fraudulent, id. at 742–43, and that Relator was excused from

compliance with Rule 9(b) because the relevant information was within Intermountain’s

exclusive control, id. at 745. The Tenth Circuit then denied Intermountain’s petition for

rehearing en banc and motion to stay the mandate pending resolution of a petition for certiorari.

        Intermountain is now in the process of petitioning the Supreme Court to review the Tenth

Circuit’s ruling. On or before January 14, 2019, Intermountain will petition the Supreme Court

to decide whether a relator may be excused from pleading fraud with particularity under Rule



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      Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 3 of 12




9(b) if Relator alleges information is exclusively possessed by a defendant. It will also ask the

Court to decide whether a physician’s medical judgment of medical necessity can be objectively

false for FCA purposes in the absence of a binding government standard.1 Given that

Intermountain’s petition, if accepted, would be potentially dispositive of Relator’s claims and the

fact that Intermountain will lose the intended benefit of Rule 9(b) if discovery proceeds,

Intermountain moved this Court to stay discovery until its petition could be resolved.

       On November 16, 2018, this Court referred Intermountain’s Motion to the Magistrate

Judge. Doc. 223. Relator responded on the same day, see Doc. No. 226, and Intermountain filed

its Reply on November 30, 2018. On December 10, 2018, without a hearing and in a single line

docket entry, Magistrate Judge Furse denied Intermountain’s Motion to Stay. See Doc. 229.

Intermountain objects to Magistrate Judge Furse’s Docket Text Order and requests the District

Court reconsider Intermountain’s Motion and stay this matter pending consideration of its

petition for writ of certiorari. While it is unclear what the basis for Magistrate Judge Furse’s

ruling was, as addressed below, a stay is appropriate in this case because it will promote judicial

economy, avoid potentially inconsistent results, and will not prejudice Relator.

                                          ARGUMENT

I.     A Stay of Discovery is Warranted Pending Resolution of Intermountain’s Petition.

       This Court “has inherent power to grant a stay pending the result of other proceedings.”

Utah v. Envtl. Restoration, LLC, No. 2:17-CV-866 TS, 2018 WL 317838, at *1 (D. Utah Jan. 5,

2018) (citation omitted). “[T]his power” is “incidental to the power inherent in every court to



1
 Intermountain reserves the right to revise the formulation of these questions and to raise
additional questions in its petition.
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      Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 4 of 12




control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Id. (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). This

Court has identified three factors it considers when granting a stay: “(1) whether a stay would

promote judicial economy (2) whether a stay would avoid confusion and inconsistent results and

(3) whether a stay would unduly prejudice the parties or create undue hardship.” Id. (quoting

Christensen v. Target Corp., No. 2:13-cv-1136, 2014 WL 1224966, at *1 (D. Utah Mar. 24,

2014)). “In exercising its judgment, the Court must weigh competing interests and consider the

effects of the stay on the Court’s docket, on counsel, and on the litigants.” Surefoot L.C. v. Sure

Foot Corp., No. 2:07-CV-67 TS, 2007 WL 1412931, at *4 (D. Utah May 10, 2007) (quotations

omitted). Each of these factors favors a stay.

       A.      Judicial Economy Favors Staying Discovery.

       Here, judicial economy favors staying the proceedings for a few months until the

Supreme Court decides whether to grant Intermountain’s forthcoming petition for certiorari.

Because there is a realistic possibility that the Supreme Court will grant review and vacate the

Tenth Circuit’s decision,2 there is a risk that “tremendous inefficiencies would result” from going



2
  For example, there is a deep division between the circuits regarding whether the plain text of
Rule 9(b) must be applied or whether the standard may be relaxed or excused when information
is exclusively possessed by a defendant. Compare United States ex rel. Polukoff v. St. Mark’s
Hosp., 895 F.3d 730, 745 (10th Cir. 2018) (excusing Relator from complying with Rule 9(b));
United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 229 (1st Cir. 2004)
(similar); United States ex rel. Rafizadeh v. Cont’l Common, Inc., 553 F.3d 869, 873 n.6 (5th Cir.
2008) (similar); United States ex rel. Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d
770, 778 (7th Cir. 2016) (similar); Ebeid ex rel. United States v. Lungwitz, 616 F.3d 993, 999
(9th Cir. 2010) (similar); with U.S. ex rel. Joshi v. St. Luke’s Hosp., Inc., 441 F.3d 552, 559 (8th
Cir. 2006) (refusing to relax the pleading standard for Rule 9(b) when information is “uniquely
within the defendants’ control”); United States ex rel. Clausen v. Lab. Corp. of Am., 290 F.3d
1301, 1314 n.25 (11th Cir. 2002) (same).
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       Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 5 of 12




forward with the proceedings. See id. at *4 (staying proceedings pending related appeal). This

case, which has the potential to involve discovery of hundreds of patients’ medical records and

the intricacies of hundreds of complex heart catheterization surgeries over the course of nearly a

decade, will be costly and time consuming for this Court and all the parties involved. If

Intermountain’s petition is denied, it will come at the expense of only a short delay, and if it is

granted, all involved will have avoided a tremendous amount of potentially costly, complex and

likely contentious discovery.

        B.          Staying Discovery Will Avoid Potentially Inconsistent Results.

        Staying this matter for a few months to allow the certiorari process to play itself out will

also avoid confusion and potentially inconsistent results, such as allowing Relator to burden

Intermountain with discovery that should not take place if the Supreme Court ultimately sustains

Intermountain’s Rule 9(b) argument. See Caprin v. Simon Transp. Servs., 112 F. Supp. 2d 1251,

1255 (D. Utah 2000) (“The purpose of Rule 9(b) is to prevent the filing of a complaint as a

pretext for the discovery of unknown wrongs.” (internal quotation marks omitted)); see also

United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 185 (5th Cir. 2009) (“In cases of

fraud, Rule 9(b) has long played that screening function, standing as a gatekeeper to discovery, a

tool to weed out meritless fraud claims sooner than later.”). Perhaps more importantly, it will

prevent this Court from potentially allowing Relator to conduct discovery that may be found to

be in contravention of Intermountain’s Rule 9(b) right to be free of burdensome discovery. Cf.

Riederer v. United Healthcare Servs., Inc., No. 15-C-1292, 2016 WL 8201782, at *2 (E.D. Wis.

Sept. 13, 2016) (staying discovery on claims arguably subject to arbitration pending the



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       Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 6 of 12




resolution of a petition for a writ of certiorari in a similar action raising circuit split; “The reason

is clear. If the party seeking arbitration in the district court loses but then wins on appeal, many

of the benefits of its arbitration clause are irreparably lost because it has had to litigate in the trial

court, incurring expense and delay along the way.”).

        C.      Staying Discovery Will Not Prejudice Relator.

        Any claimed prejudice to Relator is particularly weak in a case such as this, given that

Relator initiated the suit six years ago,3 the litigation is still in its early stages, and the stay would

only delay the proceedings a few months if the Supreme Court declines to review the case. See

Envtl. Restoration, 2018 WL 317838, at *2 (staying proceedings pending resolution of motion to

transfer in part because the litigation was “still in its early stages”). In order to avoid subjecting

Intermountain to serious unfairness and to promote judicial economy, the Court should

temporarily stay the proceedings until the Supreme Court acts on Intermountain’s certiorari

petition, and automatically extend the stay if certiorari is granted. See Thompson v. United

States, No. 2:16CV717DAK, 2016 WL 6407418, at *3 (D. Utah Oct. 28, 2016) (holding that stay

is granted due to considerations of judicial economy and the need to “proceed[] with caution”

where the Supreme Court may dispose of a “significant issue”); see also Christensen, 2014 WL

1224966, at *2 (“Because this litigation is still in its early stages . . . , the court finds that

plaintiffs will not be prejudiced by staying the action at this time. On the other hand, in the

absence of a stay, Target would suffer undue hardship by having to repeat its litigation efforts in

more than one forum and being subject to duplicative discovery.” (footnote omitted)).


3
  It is also worth noting that most of this time came not from Defendants’ previously successful
defense efforts, but from the government’s investigation, after which it ultimately chose not to
intervene in this matter.
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       Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 7 of 12




II.     Relator’s Opposition to Intermountain’s Request is Unsupported.

        In his opposition to Intermountain’s Motion, Relator raised two primary arguments: First,

he argued the Tenth Circuit’s decision not to stay its mandate was preclusive of Intermountain’s

request. See Doc. 226, 2-4. Second, he argued only that he would suffer prejudice from any

further delay. Id., 4-5. Neither of these arguments support denial of Intermountain’s Motion.

        A.          The Law of the Case Doctrine is Inapplicable.

        Relator simply misapplied the law of the case doctrine. “Law of the case principles do

not bar a district court from acting unless an appellate decision has issued on the merits of the

claim sought to be precluded.” Wilmer v. Bd. of Cty. Comm’rs of Leavenworth Cty., 69 F.3d

406, 409 (10th Cir. 1995) (internal quotation marks omitted). Intermountain never sought a stay

of the proceedings in this Court under its inherent authority pending certiorari. Thus, a decision

on that issue has never been appealed and the Tenth Circuit has never ruled upon it.

        The Tenth Circuit denied a stay of its mandate, which was to “REVERSE and REMAND

this case for further proceedings,” which has occurred. Now that the case is before this Court for

“further proceedings,” it has inherent authority to control its docket and to temporarily stay those

proceedings for reasons of judicial efficiency in light of other proceedings. See Envtl.

Restoration, LLC, 2018 WL 317838, at *1; see also Clinton v. Jones, 520 U.S. 681, 706-07

(1997) (“The District Court has broad discretion to stay proceedings as an incident to its power

to control its own docket.”); Landis, 299 U.S. at 254 (holding that “the power to stay proceedings

is incidental to the power inherent in every court to control the disposition of the causes on its



{01789425.DOCX /}                                  6
       Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 8 of 12




docket with the economy of time and effort for itself, for counsel, and for litigants”).

        B.          All Three Prongs of this Court’s Test for Granting a Stay, Including Harm to
                    Intermountain, Support Granting the Stay.

        As addressed above, a short stay to resolve Intermountain’s petition will cause little harm

to Relator. Moreover, the other two prongs of the test this District applies when deciding to stay

proceedings support such a stay. See Envtl. Restoration, 2018 WL 317838, at *1 (identifying

judicial economy, avoidance of inconsistency or confusion, and undue hardship as the three

factors considered by this Court in granting a stay). In his prior response, Relator failed to argue

that judicial economy—the first factor—or inconsistent results—the second factor—favor his

position. Instead, Relator addressed only the third factor—the relative harm suffered by each

party, supports denial of Intermountain’s request.

        Contrary to Relator’s contention, judicial economy favors entering a stay because it

would waste the Court’s and the parties’ time and resources to proceed only to have the Supreme

Court potentially vacate and remand for dismissal in several months. Surefoot L.C., 2007 WL

1412931, at *4; see also U.S. Bank, Nat’l Ass’n v. SFR Inv. Pool I, LLC, No.

215CV00218KJDNJK, 2017 WL 1025172, at *3 (D. Nev. Mar. 15, 2017) (“Staying this case

pending the Supreme Court’s disposition of the petitions for certiorari . . . will permit the parties

to evaluate, and the Court to consider, viability of the claims under the most complete precedent.

This will simplify and streamline the proceedings and promote the efficient use of the parties’

and the court’s resources.”). Also, there is a genuine risk of confusion and inconsistent results if

the Supreme Court is reviewing whether Relator has alleged sufficient facts to proceed to

discovery while Relator is already pursuing the same.


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      Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 9 of 12




       Despite only addressing the harm prong, Relator fails to discuss the most glaring harm:

that Intermountain would have to engage in discovery despite its intention to file a petition for

certiorari to review the Tenth Circuit’s Rule 9(b) ruling and despite Rule 9(b)’s role as the

“gatekeeper to discovery.” United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 185 (5th

Cir. 2009). Intermountain cannot obtain effective relief from the Supreme Court if discovery

proceeds, something that substantially harms Intermountain. By contrast, Relator previously

identified that he would suffer no harm if the stay were entered, besides a short delay in

proceedings when the proceedings have already been ongoing for six years and were already

significantly delayed in order to allow the United States to contemplate intervention. See Orders

Granting Extension of Time to Consider Intervention (ECF Nos. 12, 19, 26, 30, 34); see also

Walker v. Monsanto Co. Pension Plan, 472 F. Supp. 2d 1053, 1055 (S.D. Ill. 2006) (staying case

“a few months” pending resolution of petition for certiorari because “the Court cannot fathom[]

how the requested stay could cause [the defendants] any prejudice” and noting “[s]uch stays are

entered quite routinely”); Smithkline Beecham Corp. v. Apotex Corp., No. CIV.A. 00-CV-1393,

2004 WL 1615307, at *9 (E.D. Pa. July 16, 2004) (entering stay in part “because the requested

stay is of moderate length, and not of indefinite duration which requires a party to take

affirmative steps for dissolution” (internal quotation marks omitted)). Because Intermountain

will suffer substantial harm and Relator will not, this factor—like the other two factors—weighs

heavily in favor of entering a stay.4



4
 In a footnote in his prior opposition, Relator cites two recently denied petitions that are
unrelated to the Rule 9(b) issue Intermountain will petition the Supreme Court to review. In both
Medical Device Business Services, Inc. v. United States ex rel. Nargol, 138 S. Ct. 1551 (2018),
and United States ex rel. Ibanez v. Bristol-Myers Squibb Co., 138 S. Ct. 2582 (2018), the issue
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      Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 10 of 12




                                         CONCLUSION

       For the foregoing reasons, Intermountain objects to Magistrate Judge Furse’s denial of its

Motion to Stay and respectfully requests this Court temporarily stay proceedings pending

Intermountain’s expedited filing of a petition for a writ of certiorari in the Supreme Court, with

the stay set to automatically terminate if Intermountain does not file its petition on or before

January 14, 2019. If Intermountain files its certiorari petition by that date, the stay should

automatically continue until the conclusion of proceedings in the Supreme Court.

       DATED this 14th day of December, 2018.

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was whether specific examples of false claims are needed to satisfy Rule 9(b)’s requirements.
But here, Intermountain will present the question of whether relators may be excused from
satisfying the heightened pleading requirement of Rule 9(b) when a relator alleges information is
exclusively possessed by the defendant. Courts of Appeals have expressly recognized a split
regarding the issue that Intermountain will raise, making it an excellent candidate for Supreme
Court review. See United States ex rel. Joshi v. St. Luke’s Hosp., Inc., 441 F.3d 552, 559 (8th
Cir. 2006) (“[S]ome courts have recognized in theory that the particularity requirements of Rule
9(b) may be relaxed in an FCA qui tam action where the information relevant to the fraud is
peculiarly within the perpetrator’s knowledge. . . . We join the more recent decisions and
therefore reject [relator’s] request to permit discovery to satisfy Rule 9(b).” (internal quotation
marks and citations omitted)).
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       Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 11 of 12



                                CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record who are deemed to have consented to
electronic service are being served with a copy of the foregoing DEFENDANT
INTERMOUNTAIN HEALTHCARE, INC.’S OBJECTION TO MAGISTRATE
JUDGE’S ORDER via the Court’s CM/ECF system on this 14th day of December, 2018.

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      Case 2:16-cv-00304-TS-EJF Document 232 Filed 12/14/18 Page 12 of 12



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